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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Delaware



In Re. Emergent Fidelity Technologies Ltd                           §                   Case No. 23-10149
                                                                    §
                                                                    §                   Lead Case No. 22-11068
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 03/31/2023                                                        Petition Date: 02/03/2023

Months Pending: 2                                                                         Industry Classification:    5   2   3   9

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




                                                                             Toni Shukla, Joint Liquidator
Signature of Responsible Party                                               Printed Name of Responsible Party
04/21/2023
                                                                             Coastal Building, PO Box 4171, Wickhams Cay II, Road
Date
                                                                             Town, Tortola, VG1110, British Virgin Islands
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name Emergent Fidelity Technologies Ltd                                                     Case No. 23-10149


Part 1: Cash Receipts and Disbursements                                               Current Month           Cumulative

a.   Cash balance beginning of month                                                            $1,212,366
b.   Total receipts (net of transfers between accounts)                                                 $0                       $0
c.   Total disbursements (net of transfers between accounts)                                            $0                       $0
d.   Cash balance end of month (a+b-c)                                                          $1,212,366
e.   Disbursements made by third party for the benefit of the estate                                    $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                            $0                       $0
Part 2: Asset and Liability Status                                                    Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                         $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                    $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                         $0
d    Total current assets                                                                     $652,076,645
e.   Total assets                                                                             $652,076,645
f.   Postpetition payables (excluding taxes)                                                    $1,610,408
g.   Postpetition payables past due (excluding taxes)                                            $668,448
h.   Postpetition taxes payable                                                                         $0
i.   Postpetition taxes past due                                                                        $0
j.   Total postpetition debt (f+h)                                                              $1,610,408
k.   Prepetition secured debt                                                                 $664,100,000
l.   Prepetition priority debt                                                                          $0
m. Prepetition unsecured debt                                                                   $6,855,146
n.   Total liabilities (debt) (j+k+l+m)                                                       $672,565,554
o.   Ending equity/net worth (e-n)                                                            $-20,488,909

Part 3: Assets Sold or Transferred                                                    Current Month          Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $0                       $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                            $0                       $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $0                       $0

Part 4: Income Statement (Statement of Operations)                                   Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                   $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                      $0
c.   Gross profit (a-b)                                                                                 $0
d.   Selling expenses                                                                                   $0
e.   General and administrative expenses                                                                $0
f.   Other expenses                                                                                     $0
g.   Depreciation and/or amortization (not included in 4b)                                              $0
h.   Interest                                                                                           $0
i.   Taxes (local, state, and federal)                                                                  $0
j.   Reorganization items                                                                        $941,960
k.   Profit (loss)                                                                               $-941,960               $-1,610,408


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Debtor's Name Emergent Fidelity Technologies Ltd                                                              Case No. 23-10149

Part 5: Professional Fees and Expenses

                                                                                   Approved       Approved       Paid Current       Paid
                                                                                 Current Month   Cumulative         Month         Cumulative
a.      Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
        Itemized Breakdown by Firm
                 Firm Name                         Role
        i        Morgan Lewis Bockius LLP          Lead Counsel                             $0            $0                $0             $0
        ii       Quantuma                          Other                                    $0            $0                $0             $0
        iii      Lake, Kentish & Bennett Inc       Local Counsel                            $0            $0                $0             $0
        iv       David Joseph KC                   Local Counsel                            $0            $0                $0             $0
        v        Forbes Hare                       Local Counsel                            $0            $0                $0             $0
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                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
b.      Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

        Itemized Breakdown by Firm
                 Firm Name                        Role
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         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                       $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                          $0                          $0
c.   Postpetition employer payroll taxes accrued                                                         $0                          $0
d.   Postpetition employer payroll taxes paid                                                            $0                          $0
e.   Postpetition property taxes paid                                                                    $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                           $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                      Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




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Debtor's Name Emergent Fidelity Technologies Ltd                                                                Case No. 23-10149

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                 $0
b.      Gross income (receipts) from self-employment                                                                  $0
c.      Gross income from all other sources                                                                           $0
d.      Total income in the reporting period (a+b+c)                                                                  $0
e.      Payroll deductions                                                                                            $0
f.      Self-employment related expenses                                                                              $0
g.      Living expenses                                                                                               $0
h.      All other expenses                                                                                            $0
i.      Total expenses in the reporting period (e+f+g+h)                                                              $0
j.      Difference between total income and total expenses (d-i)                                                      $0
k.      List the total amount of all postpetition debts that are past due                                             $0
l. Are you required to pay any Domestic Support Obligations as defined by 11              Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                        Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



                                                                                  Toni Shukla
Signature of Responsible Party                                                    Printed Name of Responsible Party

Joint Liquidator                                                                 04/21/2023
Title                                                                            Date




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                                                         Bankruptcy1to50




                                                        Bankruptcy51to100




                                                       NonBankruptcy1to50




                                                      NonBankruptcy51to100




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Notes to the Monthly Operating Reports (“MOR”): March Report

General Notes:

        On February 3, 2023, Emergent Fidelity Technologies Ltd (the “Debtor”), under the control
of Angela Barkhouse and Toni Shukla as the Joint Provisional Liquidators pursuant to the
Appointment Order1 of the Eastern Caribbean Supreme Court, High Court of Justice, Antigua and
Barbuda (the “Antigua Court”), dated December 5, 2022, filed a voluntary petition for relief under
chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the District of
Delaware (the “Court”) (the “Emergent Chapter 11 Case”). On March 23, 2023, the Antigua Court
entered an order converting the provisional liquidation into a full liquidation pursuant to the
International Business Corporation Act, Cap 222, and appointed Angela Barkhouse and Toni
Shukla as the Joint Liquidators (“JLs”) of the Debtor.

        On April 10, 2023, the Court entered an interim order authorizing the joint administration
of the Emergent Chapter 11 Case with the chapter 11 cases of FTX Trading Ltd. and its affiliated
debtors and debtors-in-possession, In re FTX Trading, Ltd., et. al, Case No. 22-11068 (JTD).

        The following notes should be referred to, and referenced, in connection with any review
of the MOR:

Accuracy:

         The financial information disclosed herein was unaudited and preliminary and not prepared
in accordance with federal or state securities laws or other applicable non-bankruptcy law or in
lieu of complying with any periodic reporting requirements thereunder. In preparing the MOR,
the Debtor relied on financial data and other information derived from its books and records and
pursuant to the JLs’ ongoing investigation of the Debtor’s affairs that were available at the time of
preparation. The Debtor hereby reserves the right to challenge or otherwise dispute the validity,
status, or enforceability nature of any claim amount, representation, or other statement in this MOR,
and reserves the right to amend or supplement this MOR if necessary.

Reporting Period:

        Unless otherwise noted herein, this MOR generally reflects the Debtor’s books and records
and financial activity occurring during the current reporting period, i.e., from March 1st through
March 31st. Except as otherwise noted, no adjustments have been made for activity occurring
after the close of the reporting period.

Part 1: Cash Receipts and Disbursements – Cash Balance

      The Debtor does not have any cash on hand to be reported in Part 1; however, out of an
abundance of caution, the Debtor included in Line (a) the aggregate balance of retainers held by

1
 The Appointment Order is attached as Exhibit B to the Declaration of Angela Barkhouse in Support of the Debtor’s
Chapter 11 Petition [D.I. 3, Case No. 23-10149].
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professionals retained by the Debtor in the U.S. and the JLs in Antigua (collectively, the
“Professionals”) as of the time of chapter 11 filing on February 3, 2023.

Part 2: Assets and Liability Status – Postpetition Payables

        Part 2, Line (f) includes all fees and expenses accrued by the Professionals that have not
yet been paid. The Antiguan Professionals, including the JLs, are subject to engagement and a fee
approval process pursuant to an order of the Antigua Court. The Debtor anticipates filing a motion
to approve a cross-border protocol that will contain procedures for resolving the jurisdictional
implications of this Court and the Antigua Court both having concurrent jurisdiction over the
retention and fee approval process for the Antiguan Professionals, including the JLs.

Part 2: Assets and Liability Status – Prepetition Secured Debt

      Part 2, Line (k) includes, among other things, the aggregate amount of the claims of the
BlockFi entities. The Debtor disputes such claims in all respects.

Part 4: Income Statement – Reorganization Items

          Part 4, Line (j) includes all fees accrued by the Professionals during the current reporting
period.

Part 5: Professional Fees and Expenses

       Part 5 provides a list of the Professionals retained by the Debtor in the U.S. and the JLs in
Antigua. As noted above, the Debtor anticipates filing a motion to approve a cross-border protocol
that will contain procedures for resolving the jurisdictional implications of this Court and the
Antigua Court both having concurrent jurisdiction over the retention and fee approval process for
the Antiguan Professionals, including the JLs.

Supporting Documentation: Bank Account
       During this Reporting Period, the JLs on behalf of the Debtor opened a debtor-in-
possession bank account with Axos Bank. There is no cash deposited in the account and there has
been no transfer of any cash or proceeds in and out of that bank account.
Supporting Documentation: Payments to Insiders
          No payments were made to insiders during the current reporting period.




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         Emergent Fidelity Technologies Limited - in Liquidation (Debtor in Possession)
                   Statement of Receipts & Payments as at March 31, 2023
                                                                                       $
Opening Cash Balance                                                               1,212,366.42
     Receipts                                                                               -
     Disbursements                                                                          -
Ending Cash Balance                                                                1,212,366.42
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         Emergent Fidelity Technologies Limited - in Liquidation (Debtor in Possession)
                              Balance Sheet as at March 31, 2023

ASSETS
                                                                                   $
Cash Held by DOJ                                                                20,746,713.67
Retainer Funds Held by MLB                                                         320,477.60
Retainer Funds Held by Other Professionals                                         891,888.82
Shares of Robinhood Inc. Held by DOJ                                           630,117,564.60

Total Assets                                                                   652,076,644.69

LIABILITIES

Pre-petition Secured Creditors (disputed)                                     (660,000,000.00)
Pre-petition Secured Creditors                                                  (4,100,000.00)
Pre-petition Unsecured Creditors                                                (6,855,145.96)
Pre-petition FTX Inc & Al Creditors                                                 Uncertain
Post-petition Accrued Unpaid Costs                                              (1,610,407.92)

Total Liabilities                                                             (672,565,553.88)

NET ASSETS                                                                     (20,488,909.19)

Stockholders' Equity
Samuel Bankman-Fried - 900 Stocks                                              (18,440,018.27)
Zixiao "Gary" Wang - 100 Stocks                                                 (2,048,890.92)

STOCKHOLDERS' EQUITY                                                           (20,488,909.19)
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          Emergent Fidelity Technologies Limited - in Liquidation (Debtor in Possession)
                    Statement of Income & Expenditure as at March 31, 2023
                                                                                           $
Revenue
                                                                                               -
Total - Revenue                                                                                -

Expenses
      Other Operating Expenses                                                      (1,610,407.92)
Total - Expenses                                                                    (1,610,407.92)

Net Income Before Tax
      Revenue                                                                                 -
      Expenses                                                                      (1,610,407.92)
Net Income Before Tax                                                               (1,610,407.92)

Income Tax Provision - Not Applicable
     Total - Tax Provision                                                                     -
Income Tax Provision                                                                           -



Net Income (Loss)                                                                   (1,610,407.92)
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            Emergent Fidelity Technologies Limited - in Liquidation (Debtor in Possession)
                                 Bank Account as at March 31, 2023


Entity Name          Bank Name           Account Type         Account Number       Period-End Bank
                                                              (Last Four Digits)   Balance
Emergent Fidelity    Axos Bank           DIP Account          1488                 USD $0
Technologies Ltd
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            Emergent Fidelity Technologies Limited - in Liquidation (Debtor in Possession)
                             Payments to Insiders as at March 31, 2023


 Insider Name        Title               Amount of Payment      Description        Date
 None                None                None                   None               None

No payments were made to insiders during the current reporting period.
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                                 Emergent Fidelity Technologies Limited - in Liquidation (Debtor in Possession)
                                        Schedule of Payments to Professionals as at March 31, 2023


               Professional                                 Role                      Approved       Approved        Paid Current       Paid
                                                                                    Current Month   Cumulative          Month         Cumulative
       Morgan, Lewis & Bockius LLP            Debtor’s counsel in chapter 11              $0            $0                $0             $0

                Quantuma                                     JLs                         $0              $0               $0              $0

       Lake, Kentish & Bennett Inc.             JLs’ local counsel in Antigua            $0              $0               $0              $0

             David Joseph KC                    JLs’ local counsel in Antigua            $0              $0               $0              $0

               Forbes Hare                           JLs’ local counsel                  $0              $0               $0              $0


The Antiguan Professionals, including the JLs, are subject to engagement and a fee approval process pursuant to an order of the Antiguan court.
The Debtor anticipates filing a motion to approve a cross-border protocol that will contain procedures for resolving the jurisdictional implications
of this Court and the Antiguan court both having concurrent jurisdiction over the retention and fee approval process for the Antiguan Professionals,
including the JLs.
